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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      OCALA DIVISION


UNITED STATES OF AMERICA

v.                                                            Case No.: 5:20-cr-40-Oc-28PRL

JOSEPH CATALANO
________________________________________

                                            ORDER

         This case came before the Court on November 30, 2020 after an arrest of the defendant

on a warrant issued by the Court on the Petition for Action on Conditions of Pretrial Release

(Doc. 59).

         At the hearing, the Court advised the defendant of the charge in the Petition and the

defendant admitted the violation. The Government made an ore tenus motion to modify the

defendant’s bond (as opposed to revoking it) and the parties proposed modifications.

         Upon due consideration, and for the reasons discussed at the hearing, the

Government’s ore tenus motion to modify defendant’s conditions of release is GRANTED.

Defendant’s Order Setting Conditions of Release (Doc. 17) is hereby modified to provide that

defendant shall submit to location monitoring as directed by the Pretrial Services Office or

supervising officer and comply with all of the program requirements and instructions provided.

The defendant must pay all or part of the cost of the program based on her ability to pay as

determined by the Pretrial Services Office or supervising officer. All other conditions of release

not modified, including substance abuse treatment, remain in full force and effect.

         DONE AND ORDERED in Ocala, Florida, on November 30, 2020.
